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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                           §
TEXAS MEDICAL ASSOCIATION, et              §
al.                                        §
                                           §
        Plaintiffs,                        §
                                           §
v.                                         §    Case No. 6:21-cv-425-JDK
                                           §
UNITED STATES DEPARTMENT OF                §
HEALTH AND HUMAN SERVICES,                 §
et al.                                     §
                                           §
        Defendants.                        §
                                           §

              ORDER GRANTING LEAVE FOR AMICI CURIAE BRIEF
                    AND SETTING BRIEFING SCHEDULE
         Before the Court is an Opposed Motion for Leave to File Brief of Members of

 Congress as Amici Curiae. Docket No. 47. Having considered the motion, the Court

 hereby GRANTS the motion. The proposed amici may file their brief on or before

 January 3, 2022. Defendants may file a response to the amici curiae brief of the

 Members of Congress by January 18, 2022. No further briefing on these issues will

 be considered without leave of the Court. This Order has no effect on any of the

 existing deadlines in the previously set briefing schedule. See Docket No. 22.




          Signed this
          Dec 24, 2021
